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 5

 6 Counsel for Plaintiff

 7

 8                            UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
 9

10    EDGAR VILLALPANDO,                            )   Civil No.
                                                    )
11
                              Plaintiff,            )
12                                                  )
                vs.                                     COMPLAINT FOR DECLARATORY
13
                                                    )
                                                    )   AND INJUNCTIVE RELIEF AND
14    BLAIR ADHESIVE PRODUCTS,                      )   CIVIL PENALTIES
15
                                                    )
                              Defendant.            )   (Federal Water Pollution Control Act, 33
16                                                  )   U.S.C. § 1251 et seq.)
17
                                                    )
                                                    )
18                                                      JURY TRIAL DEMAND
                                                    )
19
                                                    )

20
           Plaintiff Edgar Villalpando (“Plaintiff”), by and through his counsel, alleges

21
     as follows:

22
           1.         This is a citizen suit, brought pursuant to the section 505(a)(1) of the

23
     Federal Water Pollution Control Act (the “Clean Water Act” or “CWA”), 33 U.S.C.

24
     § 1365(a)(1), to address violations of the CWA by defendant Blair Adhesive

25
     Products (“Blair Adhesives” or the “Defendant”) arising out of operations at Blair

26
     Adhesives’ facility located at 11034 Lockport Pl., Santa Fe Springs, CA 90670 (the

27
     “Facility”).

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 1         2.    Since at least July 24, 2014, Defendant has been discharging and
 2 continues to discharge polluted stormwater from the Facility in violation of the

 3 express terms and conditions of Sections 301 and 402 of the Clean Water Act, 33

 4 U.S.C. §§ 1311, 1342, and in violation of the General Industrial Stormwater Permits

 5 issued by the State of California (NPDES General Permit No. CAS000001 [State

 6 Water Resources Control Board] Water Quality Order No. 92-12-DWQ, as amended

 7 by Order No. 97-03-DWQ) (“1997 Permit”) and Order No. 2014-0057-DWQ (“2015

 8 Permit”) (collectively, the “Industrial Stormwater Permit” or “IGP”).

 9         3.    Plaintiff seeks a declaratory judgment, injunctive relief, the imposition
10 of civil penalties, and the award of costs, including attorneys’ and expert witness

11 fees, for Defendant’s repeated and ongoing violations of the Clean Water Act.

12                           JURISDICTION AND VENUE
13         4.    This Court has subject matter jurisdiction over the parties and subject
14 matter of this action pursuant to section 505(a)(1) of the CWA, 33 U.S.C. §

15 1365(a)(1), 28 U.S.C. § 1331 (an action arising under the laws of the United States),

16 and 28 U.S.C. § 2201 (declaratory relief).

17         5.    On July 24, 2019, as required by the CWA, 33 U.S.C. § 1365(b)(1)(A),
18 Plaintiff provided notice of intent to file suit against Defendant for CWA violations
19 (“NoV”) to the Administrator of the United States Environmental Protection Agency

20 (“EPA”); the Regional Administrator of EPA Region IX; the Executive Director of

21 the State Water Resources Control Board (“State Board”); the Executive Officer of

22 the Regional Water Quality Control Board, Los Angeles Region (“Regional Board”)

23 collectively, “state and federal agencies”) and Defendant.

24         6.    The NoV provided Defendant with sufficient information to determine
25 (i) the CWA requirements Plaintiff alleges Defendant violated, (ii) the activity

26 alleged to constitute the violation(s), (iii) sufficient information to determine the
27 date, location, and person responsible for the violation(s), and (iv) the contact

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 1 information for the Plaintiff and Plaintiff’s Counsel. A copy of the NoV is attached

 2 as Exhibit 1.

 3         7.      More than sixty (60) days have passed since the NoV was served upon
 4 Defendant and the state and federal agencies. During this time, neither the EPA, nor

 5 the State of California, has commenced or is diligently prosecuting a court action to

 6 redress the violations alleged herein. No claim in this action is barred by any prior

 7 administrative action pursuant to section 309(g) of the CWA, 33 U.S.C. § 1319(g).

 8         8.      Venue is proper in the Central District of California pursuant to section
 9 505(c)(1) of the CWA, 33 U.S.C. § 1365(c)(1), because the source of the violations

10 is located within this judicial district.

11                                         PARTIES
12         9.      Plaintiff is a citizen of the State of California who, through his
13 recreational activities, uses and enjoys the waters of the Coyote Creek, its inflows,

14 outflows, and other waters of the overall San Gabriel River Watershed, of which the

15 Coyote Creek is a part. Plaintiff’s use and enjoyment of these waters is negatively

16 affected by the pollution caused by Defendant’s operations. Plaintiff is dedicated to

17 protecting the water quality of the Coyote Creek, and the overall San Gabriel River

18 Watershed, for the benefit of its ecosystems and communities. To further these
19 goals, Plaintiff actively seeks federal and state agency implementation of the CWA,

20 and, where necessary, directly initiates enforcement actions on behalf of himself and

21 for his community.

22         10.     Plaintiff, like other citizens, taxpayers, property owners, and residents
23 of his community, lives, works, travels near, and recreates in, the Coyote Creek, its

24 inflows, outflows, and other waters of the overall San Gabriel River Watershed, of

25 which the Coyote Creek is a part, into which Defendant discharges pollutants.

26 Plaintiff, like other citizens, taxpayers, property owners, and residents, uses and
27 enjoys the Coyote Creek, its inflows, outflows, and other waters of the overall San

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 1 Gabriel River Watershed, of which the Coyote Creek is a part, for recreational,

 2 educational, scientific, conservation, aesthetic, spiritual, and other purposes.

 3 Defendant’s discharges of stormwater containing pollutants impairs each of these

 4 uses.    Thus, Plaintiff’s interests have been, are being, and will continue to be
 5 adversely affected by Defendant’s failure to comply with the CWA and the Industrial

 6 Stormwater Permit.

 7         11.   Plaintiff enjoys going to El Dorado Regional Park (the “Park”).
 8 Plaintiff enjoys relaxing in the park and walking along the paths located in the Park.

 9         12.   The San Gabriel River, at a point after its confluence with the Coyote
10 Creek, runs through the Park, and the San Gabriel River is accessible from the Park

11 by Park goers to recreate and fish in. While at the Park, Plaintiff has witnessed the

12 polluted nature of the San Gabriel River. He has observed that the San Gabriel River

13 appears both brown and dirty. In addition to his visual observation of the water,

14 Plaintiff has also noticed an unpleasant smell coming from the water.

15         13.   Plaintiff is aware that Defendant’s Facility is upstream from the Park
16 and that the pollution from the Facility flows downstream through the Coyote Creek,

17 the San Gabriel River and the Park before ultimately reaching the Pacific Ocean.

18 Plaintiff believes that this has degraded the beauty of the Park and curtailed his
19 enjoyment of the Park.

20         14.   Plaintiff intends to return to the Park in the future and believes that
21 reducing Defendant’s pollution of the Coyote Creek and San Gabriel River will

22 improve the water quality in the Coyote Creek and San Gabriel River and allow him

23 the opportunity to better enjoy the recreational and aesthetic interests in the Coyote

24 Creek, San Gabriel River and the Park.

25         15.   Defendant is a California Corporation with headquarters at 11034
26 Lockport Pl., Santa Fe Springs, CA 90670.
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 1         16.   Defendant owns and operates the Facility, located at 11034 Lockport
 2 Pl., Santa Fe Springs, CA 90670.

 3         17.   The Facility operates as a manufacturer of premium, customizable, on-
 4 demand adhesives.       Industrial activities carried out at the Facility include (i)
 5 manufacturing of adhesives; (ii) storage of materials; (iii) storage of finished

 6 products; and (iv) shipping and receiving. Repair and maintenance activities carried

 7 out at the Facility include, but are not limited to, electrical, plumbing, roofing,

 8 asphalt, concrete, and utilities repairs as well as janitorial duties.

 9         18.   The Facility’s industrial activities fall under Standard Industrial
10 Classification (“SIC”) Code 2891, relating to Adhesives and Sealants. Defendant

11 applied for and received coverage under the California Industrial General Permit

12 since at least July 1, 2013, and was issued WDID No. 4 19I012555. Defendant

13 reapplied for coverage under the 2015 Industrial Stormwater Permit on May 20,

14 2016, and was granted the continued use of its previously issued WDID No. These

15 “Notice of Intents” for the Facility to comply with the terms of the Industrial

16 Stormwater Permit list “Blair Adhesives” as the name of the Operator and Facility

17 name.     Plaintiff is therefore informed and believes and thereon alleges that
18 Defendant owns and/or operates the Facility.
19                           REGULATORY BACKGROUND
20 The Problem of Stormwater Pollution

21         19.   Stormwater runoff is one of the most significant sources of water
22 pollution in the nation and has been recognized as a leading cause of significant and

23 cumulative harmful impacts to the water quality of the Coyote Creek, its inflows,

24 outflows, and other waters of the overall San Gabriel River Watershed, of which the

25 Coyote Creek is a part. With every rainfall event, significant amounts of polluted

26 rainwater flow from local industrial facilities, such as the Facility, and pour into
27 storm drains, local tributaries, and directly into the Coyote Creek, its inflows,

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 1 outflows, and other waters of the overall San Gabriel River Watershed, of which the

 2 Coyote Creek is a part.

 3         20.   Stormwater runoff from industrial sites such as the Facility causes harm
 4 to humans and aquatic life.     In particular, stormwater can contain heavy metal
 5 pollutants such as aluminum, chromium, copper, iron, lead, mercury, nickel, tin, and

 6 zinc, as well as high concentrations of suspended solids, and nitrate plus nitrite

 7 nitrogen. Exposure and ingestion of heavy metals can cause health problems in

 8 people and aquatic animals, including neurological, physiological, and reproductive

 9 effects. Heavy metals have been shown to alter activity in tissues and blood of fish.

10         21.   High concentrations of total suspended solids (“TSS”) degrade optical
11 water quality by reducing water clarity and decreasing light available to support

12 photosynthesis.    TSS has been shown to alter predator/prey relationships (for
13 example, turbid water might make it difficult for fish to see their prey). Deposited

14 solids alter habitat for fish, aquatic plants, and benthic organisms. TSS can also be

15 harmful to aquatic life because numerous pollutants, including metals and polycyclic

16 aromatic hydrocarbons (“PAHs”), are absorbed onto TSS.                 Thus, higher
17 concentrations of TSS mean higher concentrations of toxins associated with those

18 sediments. Inorganic sediments, including settleable matter and suspended solids,
19 have been shown to negatively impact species richness, diversity, and total biomass

20 of filter feeding aquatic organisms on bottom surfaces.

21 The Clean Water Act

22         22.   CWA section 301(a), 33 U.S.C. § 1311(a), prohibits the discharge of
23 any pollutant into waters of the United States unless the discharge is in compliance

24 with various enumerated CWA requirements. Among other things, CWA section

25 301(a) prohibits discharges not authorized by, or in violation of, the terms of a

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 1 National Pollutant Discharge Elimination System (“NPDES”) permit issued

 2 pursuant to CWA section 402, 33 U.S.C. § 1342.

 3         23.   CWA section 402(b), 33 U.S.C. § 1342(b), allows each state to
 4 administer its own EPA approved permit program for discharges. In California, the

 5 State Board and its nine Regional Boards have approval from EPA to administer an

 6 NPDES permit program for the State. The State Board and Regional Boards issue

 7 individual and general NPDES permits regulating water pollutant discharges from

 8 various categories of dischargers.

 9         24.   CWA section 402(p), 33 U.S.C. § 1342(p), requires that NPDES
10 permits be issued for stormwater discharges “associated with industrial activity.”

11         25.   CWA section 301(b) required that, by March 31, 1989, all point source
12 dischargers, including those discharging polluted stormwater must achieve

13 technology based effluent limitations by utilizing the Best Available Technology

14 Economically Achievable (“BAT”) for toxic and nonconventional pollutants and the

15 Best Conventional Pollutant Control Technology (“BCT”) for conventional

16 pollutants. See 33 U.S.C. § 1311(b); 40 C.F.R. § 125.3(a)(2)(ii)-(iii).

17         26.   CWA section 505(a)(1) provides for citizen enforcement actions
18 against any “person,” including individuals, corporations, or partnerships, for
19 violations of NPDES permit requirements and for unpermitted discharges of

20 pollutants. 33 U.S.C. § 1365(a)(1), see 33 U.S.C. § 1362(5).

21         27.   CWA section 505(a) authorizes a citizen suit action for injunctive relief.
22 33U.S.C. § 1365(a).

23         28.   CWA violators are subject to an assessment of civil penalties of up to
24 $51,570 per day per violation for violations occurring after November 2, 2015 and

25 $37,500 per day per violation for violations occurring after January 12, 2009 but

26 before November 2, 2015. 33 U.S.C. § 1319(d), 40 C.F.R. §§ 19.1-19.4.
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 1 State Regulations

 2         29.    Section 303 of the CWA, 33 U.S.C. § 1313, requires states to adopt
 3 Water Quality Standards, including water quality objectives and beneficial uses for

 4 navigable waters of the United States. The CWA prohibits discharges from causing

 5 or contributing to a violation of such state Water Quality Standards. See 33 U.S.C.

 6 § 1311(b)(1)(c); 40 C.F.R. §§ 122.4(a), (d); 40 C.F.R. § 122.44(d)(1).

 7         30.    The State of California regulates water quality through the State Board
 8 and nine Regional Boards, and each Regional Board maintains a separate Water

 9 Quality Control Plan which contains Water Quality Standards for water bodies

10 within its geographic area.

11         31.    Water Quality Standards (“WQS”) applicable to Defendant are set forth
12 in the California Toxic Rule (“CTR”)1 and the Inland Surface and Coastal Waters of

13 Los Angeles and Ventura Counties Water Quality Control Plan (the “Basin Plan”).

14 Exceedances of WQS constitute violations of the Industrial Stormwater Permit, the

15 CTR, and the Basin Plan.

16         32.    The Basin Plan establishes WQS for all various areas of the inland
17 surface and coastal waters of Los Angeles and Ventura Counties, including the

18 waters of the Coyote Creek, its inflows, outflows, and other waters of the overall
19 San Gabriel River Watershed, of which the Coyote Creek is a part and its tributaries,

20 including but not limited to the following:

21                a.     Waters shall not contain suspended or settleable material in
22                concentrations that cause nuisance or adversely affect beneficial users;
23                b.     Waters shall be free of changes in turbidity that cause nuisance
24                or adversely affect beneficial uses.         Increases in natural turbidity
25                attributable to controllable water quality factors shall not exceed 20%
26
   1 The CTR is set forth at 40 C.F.R. § 131.38 and is explained in the Federal Register preamble
27 accompanying the CTR promulgation set forth at 65 Fed. Reg. 31, 682 (May 18, 2000).

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 1                where natural turbidity is between 0 and 50 nephelometric turbidity
 2                units (“NTU”), and shall not exceed 10% where the natural turbidity is
 3                greater than 50 NTU;
 4                c.      All waters shall be maintained free of toxic substances in
 5                concentrations that are toxic to, or that produce detrimental
 6                physiological responses in, human, plant, animal, or aquatic life; and
 7                d.      Surface waters shall not contain concentrations of chemical
 8                constituents in amounts that adversely affect any designated beneficial
 9                use.
10         33.    In addition, the EPA has promulgated WQS for toxic priority pollutants
11 in all California water bodies (the “California Toxics Rule” or “CTR”), which

12 include and apply to the San Pedro Bay, its tributaries, and the overall San Pedro

13 Bay Watershed, unless expressly superseded by the Basin Plan. 65 Fed. Reg. 31,682

14 (May 18, 2000); 40 C.F.R. § 131.38.

15 The Industrial Stormwater Permit

16         34.    In California, the State Board has elected to issue a single, statewide
17 general permit applicable to all stormwater discharges associated with industrial

18 activity. On April 17, 1997, the State Board adopted the 1997 Permit, which was in
19 effect through June 30, 2015. On July 1, 2015, the 2015 Permit became effective

20 and superseded the 1997 Permit, except for enforcement purposes.2 To discharge

21 stormwater lawfully in California, industrial dischargers must secure coverage under

22 the Industrial Stormwater Permit and comply with its terms or obtain and comply

23

24

25
   2 Notably, the 2015 Permit is much more comprehensive than its predecessor, including expanding
26 its purview to “Light Industry” uses previously exempted, and including more prescriptive
   requirements for various parts of permit compliance, including BMPs, NALs, SWPPP
27 requirements, Total Daily Maximum Loads for receiving waters, amongst others. See generally,

28 2015 Permit.
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 1 with an individual NPDES permit.           1997 Permit, p. II; 2015 Permit, Section
 2 I(A)(Findings 8, 12).

 3        35.      The Industrial Stormwater Permit is an NPDES permit issued pursuant
 4 to CWA section 402(p), 33 U.S.C. § 1342(p).                Violations of the Industrial
 5 Stormwater Permit are also violations of the CWA. 1997 Permit, Section C(1); 2015

 6 Permit, Section XXI(A).

 7        36.      The   Industrial     Stormwater   Permit   contains   certain   absolute
 8 prohibitions.     The Industrial Stormwater Permit prohibits the direct or indirect
 9 discharge of materials other than stormwater (“non-stormwater discharges”), which

10 are not otherwise authorized by an NPDES permit, to the waters of the United States.

11 1997 Permit, Order Part A(1); 2015 Permit, Section III(B).              The Industrial
12 Stormwater Permit prohibits stormwater discharges that cause or threaten to cause

13 pollution, contamination, or nuisance (1997 Permit, Order Part A(2); 2015 Permit,

14 Sections III(C), VI(C)) and discharges that adversely impact human health or the

15 environment (1997 Permit, Order Part C(1); 2015 Permit, Section VI(B)). Finally,

16 the Industrial Stormwater Permit prohibits discharges that cause or contribute to an

17 exceedance of any applicable water quality standard contained in a Statewide Water

18 Quality Control Plan or the applicable Regional Board’s Basin Plan. 1997 Permit,
19 Order Part C(2); 2015 Permit, Section VI(A).

20        37.      On April 1, 2014, the State Board adopted an updated NPDES General
21 Permit for Discharges Associated with Industrial Activity, Water Quality Order No.

22 2014-57-DWQ, effective as of July 1, 2015. As of the effective date, Water Quality

23 Order No. 2014-57-DWQ supersedes and rescinds the current Industrial Stormwater

24 Permit, Water Quality Order No. 97-03-DWQ, except for purposes of enforcement

25 actions brought pursuant to the Industrial Stormwater Permit, Water Quality Order

26 No. 97-03-DWQ.
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 1          38.    Notably, under the 2015 Permit, all “Light Industry” facilities falling
 2 under SIC where industrial materials, equipment, or activates are not exposed to

 3 stormwater are now required to obtain coverage under the IGP. 3

 4          39.    Under the CWA and the Industrial Stormwater Permit, dischargers
 5 must employ Best Management Practices (“BMPs”) that constitute BAT and BCT

 6 to reduce or eliminate stormwater pollution. 33 U.S.C. § 1311(b); 1997 Permit,

 7 Order Part B(3); 2015 Permit, Section X(H). The EPA has developed benchmark

 8 levels (“Benchmarks”) that are objective guidelines to evaluate whether a

 9 permittee’s BMPs achieve compliance with the BAT/BCT standards. Final National

10 Pollutant Discharge Elimination System (NPDES) General Permit for Stormwater

11 Discharges From Industrial Activities (“Multi-Sector Permit”), 65 Fed. Reg. 64,746,

12 64,766-67 (Oct. 30, 2000); Multi Sector Permit, 73 Fed. Reg. 56,572, 56,574 (Sept.

13 29, 2008); Multi Sector Permit, 80 Fed. Reg. 34,403 (June 16, 2015).

14          40.    The 2015 Permit includes Numeric Action Limits (NALs) that are
15 based on Benchmarks. 2015 Permit, Section I(M) (Finding 62). Like Benchmarks,

16 the NALs indicate “the overall pollutant control performance at any given facility.”

17 Id. Section I(M) (Finding 61).

18          41.    Dischargers must develop and implement a Storm Water Pollution
19 Prevention Plan (“SWPPP”) at the time industrial activities begin. 1997 Permit,

20 Section A(1)(a) and Order Part E(2); 2015 Permit, Sections I(I) (Finding 54), X(B).

21 The SWPPP must identify and evaluate sources of pollutants associated with

22 industrial activities that may affect the quality of stormwater and authorized non-

23 stormwater discharges from the facility. 1997 Permit, Section A(2); 2015 Permit,

24 Section X(G). The SWPPP must identify and implement site-specific BMPs to

25

26 3 Light Industry” facilities are included in the category of “Manufacturing Facilities” defined in
   the Industrial Stormwater Permit as “Facilities with Standard Industrial Classifications (SICs)
27 20XX through 39XX, 5221 through 4225.”3 See, Industrial Stormwater Permit, Attachment A,

28 Category 2.
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 1 reduce or prevent pollutants associated with industrial activities in stormwater and

 2 authorized non-stormwater discharges. 1997 Permit, Section A(2); 2015 Permit,

 3 Section X(H). The SWPPP must include BMPs that achieve pollutant discharge

 4 reductions attainable via BAT and BCT. 1997 Permit, Order Part B(3); 2015 Permit,

 5 Sections I(D) (Finding 32), V(A).

 6         42.   The SWPPP must include: a narrative description and summary of all
 7 industrial activity, potential sources of pollutants, and potential pollutants; a site map

 8 indicating the stormwater conveyance system, associated points of discharge,

 9 direction of flow, areas of actual and potential pollutant contact, including the extent

10 of pollution generating activities, nearby water bodies, and pollutant control

11 measures; a description of stormwater management practices; a description of the

12 BMPs to be implemented to reduce or prevent pollutants in stormwater discharges

13 and authorized non-stormwater discharges; the identification and elimination of non-

14 stormwater discharges; the location where significant materials are being shipped,

15 stored, received, and handled, as well as the typical quantities of such materials and

16 the frequency with which they are handled; a description of dust and particulate-

17 generating activities; and a description of individuals and their current

18 responsibilities for developing and implementing the SWPPP. 1997 Permit, Section
19 A(1)-(10); 2015 Permit, Section X.

20         43.   The Industrial Stormwater Permit also requires facility operators to
21 properly operate and maintain any facilities and systems of treatment and control

22 installed or used to achieve compliance with the conditions of the Industrial

23 Stormwater Permit and requirements of the SWPPP at all times.              1997 Permit,
24 Section C(5); 2015 Permit, Section XXI(F).

25         44.   The SWPPP and site maps must be assessed annually and revised as
26 necessary to ensure accuracy and effectiveness. 1997 Permit, Sections A(1), B(3)-
27 (4); 2015 Permit, Sections I(J) (Finding 55), X(B)(1).

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 1         45.   The 1997 Permit required facility operators to develop and implement
 2 a monitoring and reporting program (“MRP”) when industrial activities begin at a

 3 facility. 1997 Permit, Section B(1)-(2) and Order Part E(3). The MRP must ensure

 4 that stormwater discharges are in compliance with the Discharge Prohibitions,

 5 Effluent Limitations, and Receiving Water Limitations specified in the 1997 Permit.

 6 Id. at Section B(2). The MRP must ensure that practices at the facility to prevent or

 7 reduce pollutants in stormwater and authorized non-stormwater discharges are

 8 evaluated and revised to meet changing conditions at the facility, including revision

 9 of the SWPPP. Id.

10         46.   Facilities are required to make monthly visual observations of storm
11 water discharges. The visual observations must represent the quality and quantity

12 of the facility’s storm water discharges form the storm event. 1997 Permit, § B(7);

13 2015 Permit, § XI.A.

14         47.   The 2015 Permit requires facility operators to monitor and sample
15 stormwater discharges to ensure that the facility is complying with the terms of the

16 permit. 2015 Permit, Sections I(J) (Findings 55-56); XI.

17         48.   Under the 1997 Permit, facilities must analyze storm water samples for
18 “toxic chemicals and other pollutants that are likely to be present in storm water
19 discharges in significant quantities.” 1997 Permit, § B(5)(c)(ii). Under the 2015

20 Permit, facilities must analyze storm water samples for “[a]dditional parameters

21 identified by the Discharger on a facility-specific basis that serve as indicators of the

22 presence of all industrial pollutants identified in the pollutant source assessment.”

23 2015 Permit, § XI(B)(6)(c).

24         49.   Pursuant to the monitoring and reporting requirements of the Industrial
25 Stormwater Permit, facility operators must conduct ongoing visual observations of

26 stormwater and non-stormwater discharges and record responsive measures taken to
27 eliminate unauthorized non-stormwater discharges and to reduce or prevent

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 1 pollutants in stormwater and authorized non-stormwater discharges. 1997 Permit,

 2 Sections B(3)-(4); 2015 Permit, Section XI(A).        Facility operators must collect
 3 samples of stormwater discharges from all locations where stormwater may be

 4 discharged from the facility. 1997 Permit, Sections B(5), (7); 2015 Permit, Section

 5 XI(B)(4)-(5). As a part of MRP, these collections and analyses must be conducted

 6 twice a year; samples must be collected during “the first hour of discharge from (1)

 7 the first storm event of the wet season, and (2) at least one other storm event in the

 8 wet season.” Id. Through the 2014-2015 reporting period, facility operators were

 9 required to analyze stormwater samples for pH, total suspended solids, total organic

10 carbon (or oil and grease as a substitute), specific conductance, toxic chemicals, and

11 other pollutants which are likely to be present in significant quantities in stormwater

12 discharging from the facility. 1997 Permit, Section B(5).

13        50.    Section XI(B)(2) of the 2015 Permit requires that dischargers collect
14 and analyze storm water samples from two qualifying storm events (“QSEs”) during

15 the first half of each reporting year (July 1 to December 31) and two QSEs during

16 the second half of each reporting year (January 1 to June 30).

17        51.    The EPA has established the Benchmark values as guidelines for
18 determining whether a facility discharging industrial storm water has implemented
19 the requisite BAT and BCT.         See, U.S. EPA Multi-Sector General Permit for
20 Stormwater Discharges Associated with Industrial Activity (the “MSGP”). These

21 Benchmarks represent pollutant concentrations at which a storm water discharge

22 could potentially impair, or contribute to impairing, water quality, or affect human

23 health from ingestion of water or fish. Notably, the Benchmark levels contained in

24 the MSGP is “consistent” with the BMPs required of facilities under the Industrial

25 Stormwater Permit, and serve as the reference point for the Numeric Action Levels

26 (“NALs”) contained in the IGP itself. 2015 Permit I(D)(33).
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 1          52.    These Benchmarks are reflected in the 2015 Permit in the form of
 2 Numeric Action Levels (“NALs”). The 2015 Permit incorporates annual NALs,

 3 which are derived from a Water Board dataset. The following NALs have been

 4 established under the 2015 Permit for facilities under SIC codes 2891: (i) Oil &

 5 Grease – 15.0 Mg/L; and (ii) Total Suspended Solids (“TSS”) – 100 Mg/L.4 An

 6 exceedance of annual NALs occurs when the average of all samples obtained for an

 7 entire facility during a single reporting year is greater than a particular annual NAL.

 8 The reporting year runs from July 1 to June 30. The 2015 Permit also established

 9 the following instantaneous maximum NALs for all permitted facilities: (i) pH – 6.0

10 – 9.0 s.u.; (ii) TSS – 400 Mg/L; and (iii) Oil & Grease – 25 Mg/L. An instantaneous

11 maximum NAL exceedance occurs when two or more analytical results from

12 samples taken for any single parameter within a reporting year exceed the

13 instantaneous maximum NAL value (for TSS and O&G) or are outside of the

14 instantaneous maximum NAL range for pH.                     When a discharger exceeds an
15 applicable NAL, it is elevated to “Level 1 Status,” which requires revision of the

16 SWPPP and additional BMPs. If a discharger exceeds an applicable NAL during

17 Level 1 Status, it is then elevated to “Level 2 Status.”                For Level 2 Status, a
18 discharger is required to submit an Action Plan requiring a demonstration of either
19 additional BMPs to prevent exceedances, a determination that the exceedance is

20 solely due to non-industrial pollutant sources, or a determination that the exceedance

21 is solely due to the presence of the pollutant in the natural background.

22          53.    Section B(14) of the 1997 Permit requires dischargers to include
23 laboratory reports with their Annual Reports submitted to the Regional Board. This

24 requirement is continued with the 2015 Permit. 2015 Permit, Fact Sheet, Paragraph

25 O.

26
   4 As stated in the Notice Letter, Blair Adhesives is also required to test for additional pollutant
27 parameter of Selenium (NAL of 0.005 Mg/L) based on the total maximum daily load of the

28 receiving water.
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 1        54.    Section 505(a)(1) and Section 505(f) of the Act provide for citizen
 2 enforcement actions against any “person,” including individuals, corporations, or

 3 partnerships, for violations of NPDES permit requirements. 33 U.S.C. §§1365(a)(1)

 4 and (f), § 1362(5). An action for injunctive relief under the Act is authorized by 33

 5 U.S.C. § 1365(a). Violators of the Act are also subject to an assessment of civil

 6 penalties of up to $51,570 per day per violation for violations occurring after

 7 November 2, 2015 and $37,500 per day per violation for violations occurring after

 8 January 12, 2009 but before November 2, 2015. 33 U.S.C. § 1319(d), 40 C.F.R. §§

 9 19.1-19.4. See also 40 C.F.R. §§ 19.1 -19.4.

10                              STATEMENT OF FACTS
11 Facility Background

12        55.    Defendant operates the Facility located at 11034 Lockport Pl., Santa Fe
13 Springs, CA 90670.

14        56.    The Facility is regulated by the Industrial Stormwater Permit.
15        57.    Defendant submitted or was covered by a Notice of Intent to comply
16 with the Industrial Stormwater Permit to the State Board at least 2013 and in 2016.

17        58.    Operations at the Facility generally include the manufacturing of
18 premium, customizable, on-demand adhesives. Industrial activities carried out at
19 the Facility include (i) manufacturing of adhesives; (ii) storage of materials; (iii)

20 storage of finished products; and (iv) shipping and receiving.           Repair and
21 maintenance activities carried out at the Facility include, but are not limited to,

22 electrical, plumbing, roofing, asphalt, concrete, and utilities repairs as well as

23 janitorial duties.

24        59.    Certain operations at the Facility occur outdoors and are causing
25 pollutants to be exposed to rainfall.

26        60.    Specifically, plaintiff is aware of industrial processes at the Facility
27 exposed to stormwater, including, but not limited to:

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 1              a. The storage of large amounts of industrial machinery and products
 2                 outdoors and not under cover (many of which display visible signs of
 3                 weathering damage, such as rust), including, but not limited to
 4                    i. chemicals;
 5                    ii. chemical containers;
 6                   iii. large quantities of treated pallets;
 7                   iv. various drums;
 8                    v. dumpsters;
 9                   vi. large quantities of cardboard and plywood products;
10                  vii. shipping containers;
11                  viii. refuse;
12                   ix. forklifts; and
13                    x. vehicles.
14              b. The carrying out of industrial processes outdoors and not under cover,
15                 including the use of the industrial machinery and products mentioned
16                 above; and
17              c. The storage of industrial waste and refuse outdoors not under cover and
18                 exposed to stormwater, including the use of dumpsters, trash cans, and
19                 accumulation of waste such as rusted metal parts.
20        61.      Vehicles and equipment at the Facility expose many other sources of
21 pollution to the elements, including gasoline, diesel fuel, anti-freeze, battery fluids,

22 and hydraulic fluids.

23        62.      The types of pollutants released by the Facility into the immediate
24 environment are known to include, or have the potential to include, among other

25 contaminants; total suspended solids (“TSS”), waste oils, lubricants, fuel, trash,

26 debris, hazardous materials, oil and grease, pH, heavy metals, and other pollutants.
27

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 1        63.    The industrial materials stored and the pollutants generated at the
 2 Facility are exposed to stormwater flows.

 3        64.    Activities at the Facility generate significant debris and particulate
 4 matter, which contain pollutants and settle on surfaces within the Facility. During

 5 rain events, this pollution washes off of those surfaces and flows into the Coyote

 6 Creek, its inflows, outflows, and other waters of the overall San Gabriel River

 7 Watershed, of which the Coyote Creek is a part. Stormwater from the Facility

 8 discharges into the Coyote Creek, its inflows, outflows, and other waters of the

 9 overall San Gabriel River Watershed, of which the Coyote Creek is a part.

10 Activities Contributing to CWA Violations

11        65.    Defendant has not developed and/or implemented an adequate SWPPP
12 at the Facility, as evidenced by the various violations stated above, at ¶¶ 59-64 supra.

13        66.    Defendant has not developed and/or implemented BMPs that
14 adequately minimize the exposure of pollutants to stormwater at the Facility, as

15 evidenced by the various violations stated above, at ¶¶ 59-64 supra.

16        67.    Defendant has not developed and/or implemented BMPs at the Facility
17 that adequately control and minimize polluted runoff from the Facility, as evidenced

18 by the various violations stated above, at ¶¶ 59-64 supra.
19        68.    Defendant has not developed and/or implemented BMPs at the Facility
20 that adequately treat and remove pollutants in stormwater prior to discharge, as

21 evidenced by the various violations stated above, at ¶¶ 59-64 supra.

22        69.    Defendant has not developed and/or implemented adequate BMPs
23 necessary to reduce or eliminate stormwater pollution that constitute BAT/BCTs, as

24 evidenced by the various violations stated above, at ¶¶ 59-64 supra.

25        70.    Defendant has not developed and/or implemented adequate BMPs at
26 the Facility to achieve stormwater discharges that meet EPA Benchmarks or
27

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 1 applicable Water Quality Standards, as evidenced by the various violations stated

 2 above, at ¶¶ 59-64 supra.

 3        71.      Defendant has not adequately evaluated and revised the Facility’s
 4 SWPPP to address these failures, as evidenced by the various violations stated

 5 above, at ¶¶ 59-64 supra. Defendant has also failed to properly operate and maintain

 6 the structures and systems that have been put in place at the Facility to achieve

 7 compliance with the Industrial Stormwater Permit and its SWPPP requirements, as

 8 evidenced by the various violations stated above, at ¶¶ 59-64 supra.

 9        72.      Defendant has not developed and/or implemented an adequate MRP at
10 the Facility which has resulted in practices that do not adequately reduce or prevent

11 pollutants from discharging from the stormwater flows from the Facility, as

12 evidenced by the various violations stated above, at ¶¶ 59-64 supra.

13        73.      Defendant’s monitoring activities, or lack thereof, have not effectively
14 identified compliance problems at the Facility or resulted in effective revisions of

15 the SWPPP, as evidenced by the various violations stated above, at ¶¶ 59-64 supra.

16        74.      Defendant has failed to address these issues in the ERA process as
17 proscribed by the IGP, as evidenced by the various continuous and ongoing

18 violations stated above, at ¶¶ 59-64 supra.
19        75.      Due to Defendant’s lack of effective pollution prevention measures,
20 including effective BMPs, and its failure to implement an effective monitoring and

21 reporting program, stormwater from the Facility becomes polluted with many

22 constituents.     The potential pollutants from the Facility include among other
23 contaminants; total suspended solids (“TSS”), waste oils, lubricants, fuel, trash,

24 debris, hazardous materials, oil and grease, pH, heavy metals, and other pollutants.

25 Stormwater from the Facility discharges, via the local storm sewer system and/or

26 surface runoff, directly into the Coyote Creek, its inflows, outflows, and other waters
27 of the overall San Gabriel River Watershed, of which the Coyote Creek is a part.

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 1          76.    Polluted stormwater is discharged from the Facility into the Coyote
 2 Creek, its inflows, outflows, and other waters of the overall San Gabriel River

 3 Watershed, of which the Coyote Creek is a part. The Coyote Creek, San Gabriel

 4 River, its tributaries, and the overall San Gabriel River Watershed are waters of the

 5 United States.

 6          77.    Defendant’s stormwater testing for the required pollutant parameters
 7 during the five years before Plaintiff served the NoV upon was wholly insufficient

 8 – in fact, the Defendant has failed to submit any testing data for NAL parameter at

 9 any point within the last two annual reporting periods. Additionally, in the 2015-

10 2016 annual reporting period Defendant failed to submit stormwater testing a

11 required third or fourth Qualifying Storm Event (“QSE”) and failed to submit any

12 testing for the required additional pollutant parameter of Selenium. Finally, in the

13 2014-2015 annual reporting period Defendant failed to submit stormwater testing a

14 required second QSE and failed to submit any testing for the required additional

15 pollutant parameter of Selenium. As stated in the Industrial Stormwater Permit,

16 facilities are required to provide testing data, for all requisite NALs, for four QSE’s

17 per year.5

18          78.    Due to this complete lack of testing over a five year period, it is likely
19 that there the pollutant parameters of pH, O&G, TSS, and/or Selenium are present

20 in the Facility’s stormwater runoff far exceeding acceptable levels.

21          79.    The pollutants associated with SIC Code 2891 are particularly
22 dangerous to riverine ecosystems, including Oil & Grease and TSS, and pH. Failures

23 to adequately test stormwater runoff, as is the case here, make it difficult to

24 determine both the amount of pollutants being discharged in a facility’s stormwater,

25 and the efficacy of any control measures put in place.

26
27
     5 Under the Previous Industrial Stormwater Permit, this requirement was two QSEs per year.
28
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                                     PLAINTIFF’S COMPLAINT
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 1        80.    In addition, in the time since the NoV has been delivered to Defendant,
 2 the Facility’s has continued to completely ignore its obligations under the IGP,

 3 continually failing to upload any testing data for any pollutant parameter tested in

 4 any QSE for the 2019-2020 annual reporting period.

 5        81.    Such failure to comply with the self-monitoring and testing standards
 6 of the IGP undercuts the design of the IGP and the ERA scheme which rely on self-

 7 monitoring and reported testing to require self-remediation at Facility’s monitored

 8 by the Regional Board. By failing to comply with such testing standards, Defendant

 9 has failed and is continuing to fail to create and implement adequate BMPs

10 representing BATs and BCTs in place at the Facility.

11        82.    Due to these numerous insufficiencies, discrepancies, and overages
12 contained in the Defendant’s annual stormwater sampling, the Facility’s discharges

13 of stormwater have been, are, and are likely to continue to be regularly contaminated

14 with higher levels of pollutants than are consistent with BMPs that constitute

15 BAT/BCT.

16
                              FIRST CAUSE OF ACTION
17

18          Discharges in Violation of Permit Prohibitions of the Industrial
                                  Stormwater Permit
19                      (Violations of 33 U.S.C. §§ 1311, 1342)
20        83.    Plaintiff incorporates the allegations contained in all other paragraphs
21 as though fully set forth herein.

22        84.    The Industrial Stormwater Permit requires that "All Discharges of
23 storm water to waters of the United States are prohibited except as specifically

24 authorized by this General Permit or another NPDES permit.”

25        85.    Since at least July 24, 2014, Defendant has been discharging polluted
26 stormwater from the Facility in violation of the Prohibitions of the Industrial
27

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 1 Stormwater Permit during every significant rain event (defined by EPA as a rainfall

 2 event generating 0.1 inches or more of rain). See Exhibit 1, NoV at Attachment 3

 3        86.    The polluted stormwater discharged from the Facility during every
 4 significant rain event contains pollutants harmful to fish, plants, birds, and human

 5 health that have adversely affected, and continue to adversely affect, human health

 6 and the environment in violation of the Industrial Stormwater Permit.

 7        87.    Discharges of polluted stormwater from the Facility have in the past
 8 caused, and will continue to cause, pollution, contamination, and/or nuisance to the

 9 waters of the United States in violation of the Industrial Stormwater Permit and the

10 Water Quality Standards set forth in the Basin Plan.

11        88.    Each day since at least July 24, 2014, that Defendant has discharged
12 polluted stormwater from the Facility in violation of the Industrial Stormwater

13 Permit is a separate and distinct violation of CWA section 301(a), 33 U.S.C. §

14 1311(a).

15        89.    By committing the acts and omissions alleged above, Defendant is
16 subject to an assessment of civil penalties pursuant to CWA sections 309(d) and 505,

17 33 U.S.C. §§ 1319(d) and 1365.

18        90.    An action for injunctive relief is authorized by CWA section 505(a), 33
19 U.S.C. § 1365(a). Continuing commission of the acts and omissions alleged above

20 will irreparably harm Plaintiff, for which harm he has no plain, speedy, or adequate

21 remedy at law.

22        91.    An action for declaratory relief is authorized by 28 U.S.C. § 2201(a)
23 because an actual controversy exists as to the rights and other legal relations of the

24 Parties.

25

26
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                                 PLAINTIFF’S COMPLAINT
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 1
                              SECOND CAUSE OF ACTION

 2           Discharge in Violation of Effluent Limitations of the Industrial
 3                                 Stormwater Permit
                         (Violations of 33 U.S.C. §§ 1311, 1342)
 4
           92.    Plaintiff incorporates the allegations contained in all other paragraphs
 5
     as though fully set forth herein.
 6
           93.    The Industrial Stormwater Permit’s SWPPP requirements and effluent
 7
     limitations require dischargers to reduce or prevent pollutants in their stormwater
 8
     discharges through the implementation of measures that must achieve BAT for toxic
 9
     and nonconventional pollutants and BCT for conventional pollutants.
10
           94.    Defendant has discharged and continues to discharge stormwater from
11
     the Facility containing levels of pollutants that do not achieve compliance with the
12
     BAT/BCT requirements during every significant rain event occurring from July 24,
13
     2014 through the present. Defendant’s failure to develop and/or implement BMPs
14
     adequate to achieve the pollutant discharge reductions attainable via BAT or BCT at
15
     the Facility is a violation of the Industrial Stormwater Permit and the CWA. See
16
     1997 Permit, Order Part B(3); 2015 Permit, Sections I(D) (Finding 32), V(A); 33
17
     U.S.C. § 1311(b).
18
           95.    Each day since at least July 24, 2014, that Defendant has discharged
19
     stormwater containing pollutants in violation of the Industrial Stormwater Permit,
20
     specifically Effluent Limitation B(3) of the 1997 Permit, is a separate and distinct
21
     violation of section 301(a) of the CWA, 33 U.S.C. § 1311(a).
22
           96.    Defendant’s CWA violations described in the paragraphs above will
23
     continue in the future until Defendant develops and implements BMPs at the Facility
24
     adequate to achieve pollutant discharge reductions attainable via BAT and BCT.
25
           97.    By committing the acts and omissions alleged above, Defendant is
26
     subject to an assessment of civil penalties pursuant to sections 309(d) and 505 of the
27
     CWA, 33 U.S.C. §§ 1319(d) and 1365.
28
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                                   PLAINTIFF’S COMPLAINT
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 1         98.    An action for injunctive relief is authorized by CWA section 505(a), 33
 2 U.S.C. § 1365(a). Continuing commission of the acts and omissions alleged above

 3 will irreparably harm Plaintiff for which harm he has no plain, speedy, or adequate

 4 remedy at law.

 5         99.    An action for declaratory relief is authorized by 28 U.S.C. § 2201(a)
 6 because an actual controversy exists as to the rights and other legal relations of the

 7 Parties.

 8
                                THIRD CAUSE OF ACTION

 9           Failure to Develop and Implement an Adequate Storm Water
10    Pollution Prevention Plan, In Violation of the Industrial Stormwater Permit
                         (Violations of 33 U.S.C. § 1311, 1342)
11
           100. Plaintiff incorporates the allegations contained in all other paragraphs
12
     as though fully set forth herein.
13
           101. The Industrial Stormwater Permit requires dischargers of stormwater
14
     associated with industrial activity to develop and implement an adequate SWPPP
15
     when they commence industrial activity. 1997 Permit, Section A(1); 2015 Permit,
16
     Section X(B).
17
           102. Defendant, as of July 24, 2014, has commenced industrial activity and
18
     continues to conduct industrial activity at the Facility.
19
           103. Defendant has failed and continues to fail to develop and implement an
20
     adequate SWPPP or implement all necessary revisions to the SWPPP for the Facility
21
     as required by the Industrial Stormwater Permit.
22
           104. Defendant has failed and continues to fail to develop or implement a
23
     SWPPP for the Facility that includes BMPs adequate to meet the requirements of
24
     the Industrial Stormwater Permit, specifically Section A of the 1997 Permit and
25
     Section X of the 2015 Permit.
26
           105. Defendant has failed and continues to fail to adequately develop or
27
     implement a SWPPP at the Facility that prevents discharges from violating the
28
                                             24
                                   PLAINTIFF’S COMPLAINT
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 1 Discharge Prohibitions, Effluent Limitations, and Receiving Water Limitations of

 2 the Industrial Stormwater Permit.

 3         106. Each day since July 24, 2014, that Defendant has failed to adequately
 4 develop and/or implement a SWPPP for the Facility in violation of the Industrial

 5 Stormwater Permit is a separate and distinct violation of CWA section 301(a), 33

 6 U.S.C. § 1311(a).

 7         107. Defendant has been in violation of the Industrial Stormwater Permit’s
 8 SWPPP requirements every day since April 3, 2014. Defendant will continue to be

 9 in violation of the SWPPP requirements each day that Defendant fails to develop

10 and fully implement an adequate SWPPP for the Facility.

11         108. By committing the acts and omissions alleged above, Defendant is
12 subject to an assessment of civil penalties pursuant to CWA sections 309(d) and 505,

13 33 U.S.C. §§ 1319(d) and 1365.

14         109. An action for injunctive relief is authorized by CWA section 505(a), 33
15 U.S.C. § 1365(a). Continuing commission of the acts and omissions alleged above

16 will irreparably harm Plaintiff for which harm he has no plain, speedy, or adequate

17 remedy at law.

18         110. An action for declaratory relief is authorized by 28 U.S.C. § 2201(a)
19 because an actual controversy exists as to the rights and other legal relations of the

20 Parties.

21
                                  FOURTH CAUSE OF ACTION

22    Failure to Develop and Implement an Adequate Monitoring and Reporting
23               Program, In Violation of the Industrial Stormwater Permit
                           (Violations of 33 U.S.C. §§ 1311)
24
           111. Plaintiff incorporates the allegations contained in all other paragraphs
25
     as though fully set forth herein.
26
           112. Defendant has discharged and continues to discharge pollutants from
27
     the Facility in violation of the Industrial Stormwater Permit. Defendant is also in
28
                                             25
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 1 violation of the Industrial Stormwater Permit for repeated failure to report proper

 2 annual stormwater discharge data as required by the Industrial Stormwater Permit.

 3 Thus, Defendant’s discharges constitute an unpermitted discharge of pollutants from

 4 the Facility to waters of the United States in violation of CWA section 301(a), 33

 5 U.S.C. § 1311(a).

 6        113. Defendant has been in violation of CWA section 301(a) every day they
 7 have discharged stormwater from the Facility to waters of the United States since

 8 April 3, 2014. Defendant will continue to be in violation of the CWA each day that

 9 unpermitted stormwater discharges from the Facility to waters of the United States.

10        114. By committing the acts and omissions alleged above, Defendant is
11 subject to an assessment of civil penalties pursuant to sections 309(d) and 505 of the

12 CWA, 33 U.S.C. §§ 1319(d) and 1365.

13        115. An action for injunctive relief is authorized by CWA section 505(a), 33
14 U.S.C. § 1365(a). Continuing commission of the acts and omissions alleged above

15 will irreparably harm Plaintiff for which harm he has no plain, speedy, or adequate

16 remedy at law.

17        116. An action for declaratory relief is authorized by 28 U.S.C. § 2201(a)
18 because an actual controversy exists as to the rights and other legal relations of the
19 Parties.

20                                RELIEF REQUESTED
21        Plaintiff respectfully requests this Court to grant the following relief:
22        A.      Declare Defendant to have violated and to be in violation of sections
23 301(a) and (b) of the Clean Water Act, 33 U.S.C. §§ 1311(a) and (b), for discharging

24 pollutants from the Facility in violation of a permit issued pursuant to section 402(p)

25 of the CWA, 33 U.S.C. § 1342(p), for failing to meet effluent limitations which

26 include the Best Available Technology Economically Achievable and Best
27 Conventional Pollutant Control Technology requirements, and for failing to comply

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                                           26
                                 PLAINTIFF’S COMPLAINT
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